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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                     PORTLAND DIVISION
DISABILITY RIGHTS OREGON,                             Case No. 3:02-cv-00339-AN (Lead Case)
METROPOLITAN PUBLIC DEFENDER                          Case No. 3:21-cv-01637-AN (Member Case)
SERVICES, INC., & A.J. MADISON,
Plaintiffs,
v.
                                                      EMILY COOPER DECLARATION IN
SAJEL HATHI, in her official capacity as head         SUPPORT OF PLAINTIFFS’ PETITION
of the Oregon Health Authority, & SARA                FOR ATTORNEYS’ FEES AND COSTS
WALKER, in her official capacity as
Superintendent of the Oregon State Hospital,
Defendants.

JAROD BOWMAN and JOSHAWN
DOUGLAS-SIMPSON,
Plaintiffs,

v.

SARA WALKER, Interim Superintendent of the
Oregon State Hospital, in her official capacity,
SAJEL HATHI, Director of the Oregon Health
Authority, in her official capacity,
Defendants.

I, Emily Cooper, declare as follows:

           1.   I am over the age of eighteen, have personal knowledge of the matters

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   contained herein, and am competent to testify thereto.

       Legal Experience & Reasonableness of My Rate

           2.   I am an attorney who has practiced law for twenty-two years. I graduated

   from Seattle University School of Law in May 2003 and received a B.A. in English

   Literature from the University of Colorado in 1998.

           3.   In 2003, I was admitted to practice law in Washington State. I went on to get

   admitted into the Western and Eastern U.S. Districts Courts of Washington State, Oregon

   State, the U.S. District Court of Oregon, and the Ninth Circuit Court of Appeals.

           4.   My hourly rate included in the fee petition in the above-referenced matter is

   $650. This is less than the $697 reflected in the 95th percentile noted in the Oregon State

   Bar Economic Survey of 2022 for attorneys practicing in Downtown Portland between 21

   and 30 years, available at

   https://www.osbar.org/_docs/resources/Econsurveys/22EconomicSurvey.pdf (page 43).

           5.   While my current hourly rate is at the higher end of the spectrum in Portland,

   it is reasonable based on my unique, extensive expertise in litigating class action disability

   cases, especially those involving the constitutional right to timely, court-ordered treatment.

   As discussed below, I have demonstrated in litigating and resolving complex disability

   discrimination class actions through litigation and negotiation, particularly in federal cases

   in the Ninth Circuit.

           6.   In November 2024, the Federal Court in Wyatt v. Kotek, Case 6:19-cv-00556-

   AA awarded attorneys’ fees and costs. Cooper Declaration, Exhibit A. There, the Court

   reviewed my $650 hourly rate in 2024 and found it reasonable based in part on my

   experience and customary rates reflected in the OSB Economic Survey. Id. at p. 13-14.

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            7.     From June 2006 to October 2018, I worked at Disability Rights Washington

   as a Senior Attorney where I litigated class action lawsuits enforcing the rights of people

   with disabilities in Washington State.

            8.     Those systemic lawsuits included Trueblood, et al. v. Quigley et al., 101

   F.Supp.3d 1010 (W.D. Wash. Apr. 2, 2015), where I was lead counsel in the class action

   lawsuit against Washington State regarding unconstitutional delays in provision of mental

   competency services. After a seven-day trial, Plaintiffs achieved a permanent injunction

   along with an award of attorneys’ fees. Id. at 1023. The Court upheld the hourly rates we

   changed finding, “The Court also finds that the hourly rates charged by Plaintiffs’ counsel,

   including Ms. Cooper, which range from $300 to $450 per hour, are reasonable for the

   Seattle market for work performed by attorneys of similar skill, experience, and

   reputation.” Ten years later, my hourly fee has increased to $650 an hour to reflect another

   decade’s worth of successfully bringing class action litigation on behalf of individuals with

   disabilities.

            9.     I was also lead counsel in Ross v. Inslee, 2014 WL 5421221 4:14-CV-0130-

   TOR, where we sued the Washington State Governor to challenge the treatment and

   release conditions of patients adjudicated Not Guilty by Reason of Insanity. There, the case

   resulted in a settlement agreement that included agreed upon attorneys’ fees and ultimately

   reached substantial compliance. On Aug. 7, 2019, a U.S. federal court dismissed this

   case after the state successfully transformed how it provided patient care.

            10. In Reynoldson v. City of Seattle, Case 2:15-cv-01608-MJP, I helped settle a

   class action regarding the City of Seattle’s lack of compliance with Title II of the ADA and

   Section 504 as to the accessibility of curb ramps to ensure equal access for pedestrians

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   with mobility disabilities. This case also resulted in a stipulated award of attorneys’ fees.

   Cooper Decl. Ex. B. There, the Court made no reductions to my hourly rate and instead

   found Plaintiffs’ attorneys fees were “reasonable in light of the types of work and number

   of hours Class Counsel expended to obtain the Consent Decree on behalf of the Settlement

   Class, Class Counsel’s experience in litigating and negotiating settlement of disability

   rights class actions.” Id. at ¶ 2.

            11. While practicing in Washington State, I was also an Adjunct Professor at

   Seattle University School of Law from January 2015 to October 2018. There, a taught

   disability, and civil rights law.

            12. I also monitor other class action settlement agreements in Oregon. See e.g.,

   Hines v. City of Portland, 2018 WL 11403470 (D. Or. 2018). This agreement is aimed at

   addressing violations of Title II of the ADA and Section 504 as to the accessibility of curb

   ramps to ensure equal access for pedestrians with mobility disabilities. There, the

   Defendant paid my hourly rate of $623 in 2024 for work exclusively done on enforcement.

   I agreed to reduce my rate in the Hines case because I had entered the case after the

   settlement was reached and all that was needed was monitoring of the existing settlement

   agreement.

            Work Done on this Case

            13. DRO provides protection and advocacy services to Oregonians with

   disabilities pursuant to the Developmental Disabilities Assistance and Bill of Rights

   (“DD”) Act, 42 U.S.C. § 15041, et seq., the Protection and Advocacy for Individuals with

   Mental Illnesses (“PAIMI”) Act, 42 U.S.C. § 10801, et seq., the Protection and Advocacy

   for Individual Rights (“PAIR”) Act, 29 U.S.C. § 794e, and the regulations promulgated

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   thereto, and ORS 192.517.

           14. Since the Permanent Injunction was issued in this case in 2002, Disability

   Rights Oregon has been enforcing this ruling. While the state was largely in compliance

   until 2018, we have been circling contempt for the past seven years.

           15. For the past nine years, I have been the Legal Director at Disability Rights

   Oregon (“DRO”), the designated Protection and Advocacy system for Oregon and

   Organizational Plaintiff in the above captioned matter.

           16. In November 2024, Defendants admitted that they were not in compliance

   with this Court’s orders nor did they have a projection when they could achieve

   compliance. Dkt. 541-1 at page 27.

           17. Since November 2024 to present, I spent nearly seventy-seven hours to

   successfully seek a contempt ruling from this Court.

           18. I spent only a few hours mailing two letters to Defendants seeking their

   response to other suggestions for compliance to avoid contempt proceedings. The first

   letter was sent on November 11, 2024 (Dkt. 541-4) and the second letter was sent on

   December 9, 2024 (Dkt. 541-5). I never received a response.

           19. Plaintiffs also sought mediation to resolve the issues short of the time needed

   to bring litigation. Had we reached resolution at the January 2, 2025, mediation, I would

   have only spent 15 hours to achieve a favorable outcome short of litigation.

           Costs

           20. DRO has also incurred out-of-pocket costs during the course of this litigation.

   We seek reimbursement for only the cost of hiring an expert.

           21. Dr. Ira Packer is a forensic expert with over 45 years’ experience conducting

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   forensic evaluations, supervising forensic evaluators, directing local and statewide forensic

   services, training forensic practitioners, and overseeing quality assurance for forensic

   reports. Dkt. 541-7 and 8.

             22. $8900 is the cost incurred by Disability Rights Oregon for the expert Plaintiff

   DRO retained to bring our contempt motion. Attached as Exhibit C are true and accurate

   copies of these expert receipts.

             23. Each of these costs were reasonably incurred and necessary to litigate this

   motion.

             24. Attached as Exhibit D is table of Disability Rights Oregon’s fees and costs to

   successfully bring our motion for contempt.


   I hereby declare that the above statements are true to the best of my knowledge and belief,

 and that I understand it is made for use as evidence in court and is subject to penalty for

 perjury.

       DATED this 16th day of June, 2025.

                                                     Respectfully Submitted:

                                                     /s Emily Cooper
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